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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                   FORT WORTH DIVISION
               UNITED STATES DISTRICT COURT
   CHAMBER FOR
            OF COMMERCE
                THE NORTHERN
                         OF THE DISTRICT OF TEXAS
   UNITED STATES OF AFORT    , ET AL.,DIVISION
                          WORTH
                      MERICA


    RPlaintiffs,
     EGINALEA KEMP,

   v.   Plaintiff,                                    No. 4:24-cv-00213-P

   Cv.
    ONSUMER FINANCIAL PROTECTION              No. 4:23-cv-00841-P
   BUREAU, ET AL.,
    REGIONS BANK ET AL.,
      Defendants.
        Defendants.           ORDER
       On March 10, 2024, this ORDER
                               Court granted Plaintiffs’ Motion for
       Before the
   Preliminary     Court isECF
               Injunction.  Plaintiff’s
                                No. 82.Unopposed
                                          The Court Motion   forhas
                                                     therefore   Leave   to File
                                                                    questions
    Second Amended
   concerning the liveComplaint. ECF No.
                      cause of actions      18. case
                                        in this Having
                                                     andconsidered
                                                         what nextthe   Motion
                                                                     steps are
    and applicable
   appropriate      docket
               to move  theentries, the Court GRANTS the Motion.
                            case along.
      The Court, accordingly, ORDERS both Parties to brief the Court on
       SO ORDERED on this 18th day of September 2023.
   what the live pleadings are in this case and the current posture of such
   pleadings. Briefing should be filed by 5:00 p.m. on Wednesday, May
   15, 2024.
      SO ORDERED on this 13th day of May 2024.


                          ______________________________________________
                          Mark T. Pittman
                          UNITED STATED DISTRICT JUDGE
